  Case 23-12825-MBK Doc 287-1 Filed 04/24/23 Entered 04/24/23 12:11:14 Desc
Application in Support of the Motion to Seal the Redacted Portions and Exhibits Page 1 of 6



    UNITED STATES BANKRUPTCY COURT
    DISTRICT OF NEW JERSEY
    Caption in Compliance with D.N.J. LBR 9004-1(b)   BROWN RUDNICK LLP
                                                      David J. Molton, Esq.
    GENOVA BURNS LLC                                  Robert J. Stark, Esq.
    Daniel M. Stolz, Esq.                             Michael S. Winograd, Esq.
    Donald W. Clarke, Esq.                            Eric R. Goodman, Esq.
    dstolz@genovaburns.com                            dmolton@brownrudnick.com
    dclarke@genovaburns.com                           rstark@brownrudnick.com
    110 Allen Road, Suite 304                         mwinograd@brownrudnick.com
    Basking Ridge, NJ 07920                           egoodman@brownrudnick.com
    Tel: (973) 467-2700                               Seven Times Square
    Fax: (973) 467-8126                               New York, NY 10036
                                                      Tel: (212) 209-4800
                                                      Fax: (212) 209-4801
    Proposed Local Counsel to the Official            and
    Committee of Talc Claimants
                                                      Jeffrey L. Jonas, Esq.
                                                      Sunni P. Beville, Esq.
                                                      jjonas@brownrudnick.com
                                                      sbeville@brownrudnick.com
                                                      One Financial Center
                                                      Boston, MA 02111
                                                      Tel: (617) 856-8200
                                                      Fax: (617) 856-8201
                                                      Proposed Co-Counsel for the Official
                                                      Committee of Talc Claimants

    MASSEY & GAIL LLP                                 OTTERBOURG PC
    Jonathan S. Massey, Esq.                          Melanie L. Cyganowski, Esq.
    jmassey@masseygail.com                            Adam C. Silverstein, Esq.
    1000 Maine Ave. SW, Suite 450                     Jennifer S. Feeney, Esq.
    Washington, DC 20024                              mcyganowski@otterbourg.com
    Tel: (202) 652-4511                               asilverstein@otterbourg.com
    Fax: (312) 379-0467                               jfeeney@otterbourg.com
                                                      230 Park Avenue
    Proposed Special Counsel for the Official         New York, NY 10169
    Committee of Talc Claimants                       Tel: (212) 905-3628
                                                      Fax: (212) 682-6104

                                                      Proposed Co-Counsel for the Official
                                                      Committee of Talc Claimants
  Case 23-12825-MBK Doc 287-1 Filed 04/24/23 Entered 04/24/23 12:11:14 Desc
Application in Support of the Motion to Seal the Redacted Portions and Exhibits Page 2 of 6




      In Re:                                                    Chapter 11

      LTL MANAGEMENT, LLC,                                      Case No.: 23-12825 (MBK)

                                        Debtor.                 Honorable Michael B. Kaplan


       APPLICATION IN SUPPORT OF THE MOTION TO SEAL THE REDACTED
                       PORTIONS AND EXHIBITS OF THE
      MOTION OF THE OFFICIAL COMMITTEE OF TALC CLAIMANTS TO DISMISS
          SECOND BANKRUPTCY PETITION OF LTL MANAGEMENT, LLC


           The Official Committee of Talc Claimants (the “TCC” or the “Committee”) in the above-

  captioned case of LTL Management, LLC (the “Debtor” or “LTL”; “LTL 2.0”), respectfully

  submits, by and through its proposed counsel, this application in support of the Committee’s

  motion pursuant to 11 U.S.C. § 107(b), Fed. R. Bankr. P. 9018 and D.N.J. LBR 9018-1 (the

  “Motion to Seal”) for entry of an order, substantially in the form submitted herewith, (A) for

  authority to file under seal the redacted portions of the Motion of the Official Committee of Talc

  Claimants to Dismiss Second Bankruptcy Petition of LTL Management, LLC (the “Motion to

  Dismiss”), filed substantially contemporaneously herewith,1 and (B) granting the Committee such

  other and further relief as the Court deems necessary, appropriate and consistent with the goals of

  the Motion to Seal. In support of this this Motion to Seal, the Committee respectfully states as

  follows:




  1
           A redacted version of the Motion to Dismiss has been filed immediately prior to the filing of this Motion to
           Seal. An unredacted version of the Motion to Dismiss is being filed immediately after the filing of this Motion
           to Seal in accordance with this Court’s procedures for electronically requesting that a document be sealed
           (see Process to Electronically Request that a Document be Sealed | United States Bankruptcy Court - District
           of New Jersey (uscourts.gov)).
  Case 23-12825-MBK Doc 287-1 Filed 04/24/23 Entered 04/24/23 12:11:14 Desc
Application in Support of the Motion to Seal the Redacted Portions and Exhibits Page 3 of 6



                                   PRELIMINARY STATEMENT

         1.      The redacted portions of the Motion to Dismiss include certain information

  designated by the Debtor as being confidential (collectively, the “Confidential Information”)in

  accordance with that certain proposed Agreed Protective Order Governing Confidential

  Information by and Between the Official Committee of Talc Claimants and the Debtor Pursuant

  to D.N.J. LBR 9021-1(b) (the “Proposed Protective Order”2) and, to the extent applicable, that

  certain Agreed Protective Order Governing Confidential Information entered on December 21,

  2021 [Dkt. No. 948] (the “LTL 1.0 Protective Order”) in the first LTL Chapter 11 case, Case

  No. 21-30589 (MBK) (“LTL 1.0”). So as not to delay the filing of the Committee’s Motion to

  Dismiss, the Committee is, at this time, respecting the Debtors’ confidentiality designations and

  does not wish to be in contempt of LTL 1.0 Protective Order, to the extent applicable. However,

  all of the Committee’s rights to challenge the Debtor’s designations regarding the purported

  Confidential Information, including, but not necessarily limited to, those rights under the terms of

  the Proposed Protective Order and, to the extent applicable, the LTL 1.0 Protective Order are

  hereby being expressly preserved.

         2.      For the reasons set forth herein, the Committee respectfully requests that the Motion

  to Seal be granted.

                                             JURISDICTION

         3.      This Court has jurisdiction to consider this Motion to Seal and the Motion to

  Dismiss pursuant to 28 U.S.C. §§ 157 and 1334. The subject matter of this Motion to Seal and the

  Motion to Dismiss is a core proceeding pursuant to 28 U.S.C. § 157(b). Venue is proper in this




  2
         As of the submission of this Motion to Seal, the Proposed Protective Order has not been finalized for
         submission to the Court.
  Case 23-12825-MBK Doc 287-1 Filed 04/24/23 Entered 04/24/23 12:11:14 Desc
Application in Support of the Motion to Seal the Redacted Portions and Exhibits Page 4 of 6



  district pursuant to 28 U.S.C. § 1408. The statutory predicates for the relief sought herein include

  11 U.S.C. § 107(b), Fed. R. Bankr. P. 9018 and D.N.J. LBR 9018-1.

                                           BACKGROUND

         4.      The Debtor commenced the Chapter 11 case on April 4, 2023 (the “Petition Date”).

  No trustee has been appointed in the case, and the Debtor continues to operate as debtor-in-

  possession pursuant to Bankruptcy Code Sections 1107(a) and 1108.

         5.      The Committee was appointed on April 14, 2023 [Docket No. 162].

         6.      The Committee’s Motion to Dismiss sets forth relevant preliminary and

  background matters which are incorporated herein by reference.

                                        APPLICABLE LAW

         7.      Bankruptcy Code Section 107 provides, in relevant part, the following: “On request

  of a party in interest, the bankruptcy court shall, and on the bankruptcy court's own motion, the

  bankruptcy court may … protect an entity with respect to a trade secret or confidential research,

  development, or commercial information….” See 11 U.S.C. § 107(b)(1); see also Fed. R. Bankr.

  P. 9018 (“On motion or on its own initiative, with or without notice, the court may make any order

  which justice requires … to protect the estate or any entity in respect of a trade secret or other

  confidential research, development, or commercial information….”).

         8.      Under Section 107(b)(1), “if the information fits any of the specified categories, the

  court is required to protect a requesting interested party and has no discretion to deny the

  application.” In re Orion Pictures Corp., 21 F.3d 24, 27 (2d Cir. 1994). The party seeking the

  sealing of part of the judicial record “‘bears the burden of showing that the material is the kind of

  information that courts will protect.’” In re Cendant Corp., 260 F.3d 183, 194 (3d Cir. 2001)

  (citation omitted). In the context of Section 107(b)(1), “commercial information” has been defined
  Case 23-12825-MBK Doc 287-1 Filed 04/24/23 Entered 04/24/23 12:11:14 Desc
Application in Support of the Motion to Seal the Redacted Portions and Exhibits Page 5 of 6



  as information which would cause “‘an unfair advantage to competitors by providing them

  information as to the commercial operations of the debtor.’” Orion Pictures, 21 F.3d at 27 (citation

  omitted).

         9.      As previously stated, the Confidential Information redacted from the Committee’s

  Motion to Dismiss includes certain information designated by the Debtor as being confidential in

  accordance with the Proposed Protective Order and LTL 1.0 Protective Order. So as not to delay

  the filing of the Committee’s Motion to Dismiss, the Committee is, at this time, respecting the

  Debtors’ confidentiality designations and does not wish to be in contempt of LTL 1.0 Protective

  Order, to the extent applicable. However, all of the Committee’s rights to challenge the Debtor’s

  designations regarding the purported Confidential Information, including, but not necessarily

  limited to, those rights under the terms of the Proposed Protective Order and, to the extent

  applicable, the LTL 1.0 Protective Order are hereby being expressly preserved.

         10.     Therefore, the Committee’s Motion to Seal should be granted.

                                       NO PRIOR REQUEST

         11.     No prior request for the relief sought in this Motion to Seal has been made to this

  Court or any other court with respect to the Confidential Information redacted from the Motion to

  Dismiss.

         12.     On April 17, 2023, the Committee filed in the LTL adversary proceeding

  commenced on the Petition Date, Adv. Proc. No. 23-01092 (MBK), as Docket No. 42, a Motion

  to Seal the Redacted Portions of the Objection of the Official Committee of Talc Claimants to

  Debtor’s Motion for an Order (I) Declaring that the Automatic Stay Applies or Extends to Certain

  Actions Against Non-Debtors, (II) Preliminarily Enjoining Such Actions, and (III) Granting a
  Case 23-12825-MBK Doc 287-1 Filed 04/24/23 Entered 04/24/23 12:11:14 Desc
Application in Support of the Motion to Seal the Redacted Portions and Exhibits Page 6 of 6



  Temporary Restraining Order Ex Parte Pending a Hearing on a Preliminary Injunction, which

  the minutes of the April 18, 2023 hearing in the adversary proceeding reflect, was granted.

                                   RESERVATION OF RIGHTS

         13.     The Committee reserves all of its rights, claims, defenses, and remedies, including,

  without limitation, the right to seek the public disclosure of the materials under seal or currently

  subject to redaction.

                                           CONCLUSION

         WHEREFORE, the Committee respectfully requests that this Court (i) grant the Motion

  to Seal, (ii) enter the form of order substantially in the form submitted herewith, and (iii) grant

  such other and further relief as it deems necessary, appropriate and consistent with the goals of the

  Motion to Seal.

  Dated: April 24, 2023

                                                     GENOVA BURNS LLC

                                                     By: /s/ Daniel M. Stolz
                                                             Daniel M. Stolz, Esq.
                                                             Donald W. Clarke, Esq.
                                                             110 Allen Rd., Suite 304
                                                     Basking Ridge, NJ 07920
                                                     Tel: (973) 230-2095
                                                     Fax: (973) 533-1112
                                                     Email: DStolz@genovaburns.com
                                                             DClarke@genovaburns.com

                                                     Proposed Local Counsel for the Official
                                                     Committee of Unsecured Creditors
